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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


  INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.

                                  Plaintiff,
                                                           Civil Action No: 2:16-cv-06576
               v.                                          (KM) (MAH)

  LATINFOOD U.S. CORP. d/b/a ZENÚ
  PRODUCTS CO. and WILSON ZULUAGA,

                                  Defendants.



                PLAINTIFF’S RESPONSE TO DEFENDANTS’ SECOND SET
                  OF REQUESTS FOR PRODUCTION OF DOCUMENTS

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, plaintiff Industria de

  Alimentos Zenú S.A.S. (“Plaintiff”) hereby responds to defendants Latinfood U.S. Corp. d/b/a

  Zenú Products Co. (“Latinfood”) and Wilson Zuluaga (with Latinfood, “Defendants”) Second

  Set of Document Requests (“Document Requests”) as follows:

                      OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

         Plaintiff objects to the following definitions set forth by Defendants in their Document

  Requests:

         1.         Plaintiff objects to Defendants’ definition of “Plaintiff” to include counsel for

  Plaintiff, as counsel does not maintain business records or non-privileged materials for

  Defendants. Plaintiff Industria de Alimentos Zenú will provide documents and information from

  any parent, subsidiary, principal, officer, director, employees or staff members.

         2.         Plaintiff objects to Defendants’ definition of “control” to include counsel for

  Plaintiff, as counsel does not maintain business records or non-privileged materials for
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  Defendants. Plaintiff Industria de Alimentos Zenú will provide documents and information from

  any parent, subsidiary, principal, officer, director, employees or staff members.


                                      GENERAL OBJECTIONS

         These General Objections form a part of each response. Thus, the absence of a reference

  to a General Objection should not be construed as a waiver of the General Objections to a

  specific Document Request.

         1.      Plaintiff objects to the Document Requests to the extent that they seek

  information that is not relevant to this action, immaterial, or not reasonably calculated to lead to

  the discovery of admissible evidence in this action.

         2.      Plaintiff objects to the Document Requests to the extent that they are vague,

  ambiguous and, thus, not susceptible to a reasoned interpretation or response.

         3.      Plaintiff objects to the Document Requests to the extent that they are overbroad,

  unduly burdensome, oppressive, unreasonably cumulative and/or duplicative.

         4.      Plaintiff objects to the Document Requests to the extent that the documents

  sought are not within Plaintiff’s possession, custody or control.

         5.      Plaintiff objects to the Document Requests to the extent that they seek documents

  that are publicly available or already or equally in the Defendants’ possession, custody or

  control. Likewise, Plaintiff objects to the Document Requests to the extent that the information

  sought is clearly in the possession of a party other than Plaintiff.

         6.      Plaintiff objects to the Document Requests to the extent that they seek documents

  from a time period not relevant to this action.

         7.      Plaintiff objects to the Document Requests to the extent that they seek

  confidential business, financial and/or proprietary information.



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         8.      Plaintiff objects to the Document Requests to the extent that they seek

  information about Plaintiff’s sales and products without a geographical limitation.

         9.      Plaintiff objects to the Document Requests to the extent that they seek documents

  protected by the attorney-client privilege both under federal law and pursuant to N.J.S.A. 2A:84-

  A-20, the work-product doctrine and/or other applicable privileges or immunities. Such

  information shall not be provided in response hereto, and inadvertent disclosure of the same shall

  not be deemed a waiver of any such privilege or immunity.

         10.     Plaintiff objects to the Document Requests to the extent that they seek documents

  already produced to Defendants in connection with the proceeding before the Trademark Trial

  and Appeal Board, Proceeding No. 92059947, and to the extent that they seek documents already

  produced in this litigation. As set forth by Magistrate Judge Hammer in the scheduling

  conference on April 5, 2017, such duplicative discovery should be avoided. Accordingly, any

  documents already produced to Defendants shall not be provided in response hereto.

         11.     Plaintiff objects to the definitions and instructions provided in the Document

  Requests to the extent that they exceed the requirements established by the Federal Rules of

  Civil Procedure and/or the Local Rules of this Court.

         12.     No response or objection made herein, or lack thereof, shall be deemed an

  admission by Plaintiff as to the existence or nonexistence of certain documents.

         13.     Plaintiff’s failure to object to the Document Requests on a particular ground shall

  not be construed as a waiver of its right to object on that or any other additional grounds.

         14.     Plaintiff reserves the right to modify, amend and/or supplement their responses to

  the Document Requests at any time both during discovery and at trial.




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           15.      Plaintiff’s responses are made without waiver, and with preservation of, all

  objections as to competency, relevancy, materiality, privilege and admissibility of the responses

  and the subject matter thereof as evidence for any purposes in any further proceeding in this

  action (including the trial of this action) and any other action or proceeding.

                             SPECIFIC OBJECTIONS AND RESPONSES

           Plaintiff incorporates by reference its General Objections in response to each of the

  Document Requests set forth below. Expressly reserving their right to amend and supplement

  their responses to any and all of these Document Requests, Plaintiff makes the following

  responses while reserving the right to make additional objections as may be deemed appropriate

  during the course of these proceedings:


     34.         Produce all documents which record, refer to, or relate to the organization,

  incorporation, structure, operation and activities of Plaintiff in the past 5 years insofar as they

  relate to any products with Plaintiffs Marks that are distributed/sold and/or services offered by

  and/or intended to be distributed/sold, offered or promoted by Defendant Industria in the United

  States, Columbia and in other international territories.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff further objects to this Document Request to the

  extent that it is vague, ambiguous and, thus, not susceptible to a reasoned interpretation or

  response. Plaintiff is withholding materials on the basis of the foregoing objections.



     35.         Produce all documents which record, refer to, or relate to any licenses, assignments,

  agreements, contracts, and/or arrangements between Plaintiff and any third party in the past 5


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  years, which relate in any manner to Plaintiffs Marks including but not limited to, agreements

  separately in the United States, Columbia and in other international territories.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff further objects to this Document Request to the

  extent that it seeks confidential business, financial and/or proprietary information.

             Subject to and without waiver of the foregoing objections and the General Objections,

  Plaintiff has already produced documents concerning any licenses or assignment of rights in the

  ZENÚ or RANCHERA marks, to the extent such documents exist.



     36.     Produce all documents which record, refer to, or relate to Plaintiffs use of Plaintiffs

  Marks in the past 5 years, in connection with any goods and/or services separately in the United

  States, Columbia and in other international territories.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

  unduly burdensome because it does not contain a topical limitation. Plaintiff further objects to

  this Document Request to the extent that it is duplicative of all other Document Requests

  pertaining to the Plaintiff’s use of the Plaintiff’s Marks. Plaintiff is withholding materials on the

  basis of the foregoing objections.



     37.     Produce all documents and/or communications which record, refer to, or relate to

  Plaintiffs decision to allow the cancellation or abandonment of the marks containing the

  Plaintiffs Marks in commerce in the United States and Plaintiffs basis for refiling Application for

  Plaintiffs Marks.


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  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

  protected by the attorney-client privilege and the work-product doctrine as recognized under

  federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

  documents on these grounds. Subject to and without waiver of the foregoing objections and the

  General Objections, Plaintiff states that, at this time it is not aware of any non-privileged

  documents responsive to this request.



      38.     Produce all documents, advertisements, sales presentations, and/or communications

  that record, refer to, evidence, or relate to Plaintiffs use, intent to use, or intent to use or not to

  use Plaintiffs Marks on any of its products, separately in the United States, Columbia and in

  other international territories in the past 5 years, including, without limitation, documents

  reflecting the cause and purpose behind foregoing use of the mark and/or plans in place at the

  time of abandonment to effectuate commencement.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

  ambiguous and, thus, not susceptible to a reasoned interpretation or response. Plaintiff further

  objects to this Document Request to the extent that it seeks information that is not relevant to this

  action, immaterial, or not reasonably calculated to lead to the discovery of admissible evidence

  in this action. Plaintiff further objects to this Document Request to the extent that it seeks

  confidential business, financial and/or proprietary information. Plaintiff further objects to this

  Document Request to the extent it is duplicative of Document Request 37. Plaintiff objects to

  this Document Request to the extent that it seeks documents protected by the attorney-client

  privilege and the work-product doctrine as recognized under federal law and pursuant to N.J.S.A.



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  2A:84A-20 and will be withholding existing privileged documents on these grounds. Because

  Plaintiff cannot ascertain what information is sought by Defendants in this Document Request,

  Plaintiff is withholding materials on the basis of the foregoing objections.



     39.       Produce all documents which record, refer to, or relate to Plaintiffs sales or intended

  sales in the past 5 years, of any goods and/or services bearing Plaintiffs Marks as the source

  identifier, separately in the United States, Columbia and in other international territories.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

  already produced to Defendants in connection with the proceeding before the Trademark Trial

  and Appeal Board, Proceeding No. 92059947. Plaintiff further objects to this Document Request

  to the extent that it seeks documents already produced to Defendants in response to Document

  Request 6.

               Subject to and without waiver of the foregoing objections and the General Objections,

  Plaintiff has already produced materials pertaining to the sales and promotion of its ZENÚ and

  RANCHERA-branded products, to the extent such documents exist.



     40.       Produce all documents which record, refer to, or relate to any searches, investigations,

  studies, analyses, or inquiries conducted in the past 5 years, by or on behalf of Plaintiff, or by

  any person acting for or on its behalf, regarding the availability and/or registrability of Plaintiffs

  Marks, separately in the United States, Columbia and other international territories.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff further objects to this Document Request to the


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  extent that it seeks documents protected by the attorney-client privilege and the work-product

  doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-20 and will be

  withholding existing privileged documents on these grounds. Plaintiff further objects to this

  Document Request to the extent that it seeks documents already produced to Defendants in

  connection with the proceeding before the Trademark Trial and Appeal Board, Proceeding No.

  92059947.

              Subject to the foregoing objections and the General Objections, Plaintiff states that it

  is not aware of any non-privileged documents responsive to this Request.



     41.      Produce all documents from the past 5 years, which record, refer to, or relate to any

  website analytic data regarding Plaintiff’s Marks, evidencing user visits for the United States,

  Columbia and other international territories separately, and any inquiries received by Plaintiff

  from consumers from the United States, Columbia and other international territories separately.


  RESPONSE: Subject to and without waiver of the foregoing objections and the General

  Objections, Plaintiff has already produced documents to establish the volume of web traffic to

  Plaintiff’s ZENÚ website, www.zenu.com.co, from users in the United States.



     42.      Produce all documents from the past 5 years, which refer to, relate to, or are in any

  way concerned with the preparation, filing and/or prosecution of any applications for

  registration, state or federal, of marks incorporating Plaintiffs Marks.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

  unduly burdensome. Plaintiff additionally objects to this Document Request to the extent that it

  seeks documents protected by the attorney-client privilege and the work-product doctrine as


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  recognized under federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding

  existing privileged documents on these grounds.



     43.     Produce a representative sample of each product which is being used or is intended to

  be used by Plaintiff in which Plaintiffs use of Plaintiff’s Marks appears for the past 5 years,

  separately for in the United States, Columbia and in other international territories, including the

  dates of creation, distribution channels and duration of product circulation.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

  of admissible evidence in this action. Plaintiff further objects to this Document Request to the

  extent that it seeks documents already produced to Defendants in connection with the proceeding

  before the Trademark Trial and Appeal Board, Proceeding No. 92059947. Plaintiff further

  objects to this Document request to the extent that it seeks representative samples of Plaintiff’s

  use of “ZENÚ,” which have already been produced.

             Subject to and without waiver of the foregoing objections and the General Objections,

  Plaintiff has produced samples of its products bearing the ZENÚ and RANCHERA marks, to the

  extent such documents exist.



     44.     Produce documents with dates of creation, distribution channels and duration for all

  goods and/or services, in which Plaintiff’s Marks appear for the past 5 years, separately for in the

  United States, Columbia and in other international territories.


  RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

  that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery


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of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent it vague, ambiguous and, thus, not susceptible to a reasoned interpretation or response.

Plaintiff further objects to this Document Request to the extent that it is duplicative of Document

Request Number 10. Plaintiff is withholding materials on the basis of the foregoing objections.



   45.     Produce all documents which record, refer to, or relate to Plaintiff’s advertising

and/or promotional expenditures, or expected advertising and/or promotional expenditures in the

past 5 years, for any goods offered for sale, sold and/or distributed under the Plaintiff’s Marks,

separately for in the United States, Columbia and in other international territories. This request

includes, without limitation, the advertising medium, the dates of any such advertisements or

promotions, the location of where the advertisements or promotions were disseminated, and the

cost associated with such advertisements and/or promotions.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent that it seeks documents already produced to Defendants in connection with the proceeding

before the Trademark Trial and Appeal Board, Proceeding No. 92059947. Plaintiff further

objects to this Document Request to the extent that it seeks documents already produced to

Defendants relating to the “ZENÚ” mark.

           Subject to the foregoing objections and the General Objections, Plaintiff has produced

documents sufficient to establish Plaintiff’s recent advertising expenditures for its ZENÚ and

RANCHERA marks from 2012-2017, to the extent that such documents were not previously

produced to Defendants in the proceeding before the TTAB and to the extent such documents



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exist. Plaintiff is withholding any responsive documents that do not fall within this specified

search on the basis of the foregoing objections.



    46.     Produce all documents and communications which record, refer to, or relate to

Plaintiffs past attendance or future intention to attend, any tradeshows or other events in the

United States in the past 5 years, including without limitation, the date of attendance, proof of

attendance (or plans to attend), all products and advertisements included in such attendance (or

planned to include), and any sales data relating to such attendance.


RESPONSE: Plaintiff objects to this Document Request to the extent that it is vague,

ambiguous and, thus, not susceptible to a reasoned interpretation or response.

            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced documents responsive to this Document Request, to the extent

such documents exist.



    47.     Produce all documents which record, refer to, or relate to the amount of sales (actual

and/or projected) for the past 5 years, by calendar quarter of goods sold by or for Plaintiff

bearing Plaintiff’s Marks separately in the United States, Columbia and in other international

territories. This request includes, without limitation, the identification of the goods or services,

the number of units and/or services sold, the dates of the sales, country in which sales made, and

the dollar value of the sales.


RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

unduly burdensome because it seeks more detailed sales information than is relevant to this

action. Plaintiff further objects to this Document Request to the extent that it is duplicative of


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Document Request Number 39. Plaintiff further objects to this Document Request to the extent

that it seeks documents already produced to Defendants in connection with the proceeding before

the Trademark Trial and Appeal Board, Proceeding No. 92059947. Plaintiff further objects to

this Document Request to the extent that Plaintiff has already produced documents sufficient to

establish Plaintiff’s recent sales of ZENÚ products.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced documents sufficient to establish Plaintiff’s recent sales of ZENÚ

and RANCHERA products, to the extent such documents were not previously produced to

Defendants in the proceeding before the TTAB. Plaintiff is withholding any responsive

documents that do not fall within this specified search on the basis of the foregoing objections.



   48.     Produce all documents that record, refer to, or relate to exportation of products

bearing Plaintiffs Marks to and/or from the United States for the past 5 years, including without

limitation the dates of transport and identification of the United States retailers and/or other

wholesale locations. Specifically, documents that record, refer to, or relate to Plaintiffs assertions

in Paragraph 22 of its Amended Complaint, which states that “[f]or several years, Plaintiff has

obtained and packaged some of its products in the United States. These products are then

exported for sale in Colombia.”


RESPONSE: Plaintiff objects to this Document Request to the extent that it is overbroad and

unduly burdensome because it seeks more detailed information than is relevant to this action.

Plaintiff further objects to this Document Request to the extent it vague, ambiguous and, thus,

not susceptible to a reasoned interpretation or response. Plaintiff further objects to this

Document Request to the extent that it seeks documents already produced to Defendants in



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connection with the proceeding before the Trademark Trial and Appeal Board, Proceeding No.

92059947. Plaintiff further objects to this Document Request to the extent that Plaintiff has

already produced documents sufficient to establish Plaintiff’s exportation of ZENÚ products

from the United States.

           Subject to and without waiver of the foregoing objections, Plaintiff has already

produced documents sufficient to establish Plaintiff’s exportation of ZENÚproducts from the

United States.



   49.     Produce all documents from the past 5 years, which record, refer to, or relate to any

communication, oral or written, received by Plaintiff from any person, separately in the United

States and other international territories which suggests, implies, or infers any connection or

association between Defendants and Plaintiff, or which inquires as to whether there is or may be

such a connection or association, based upon Plaintiffs and/or its licensees’ or sublicensees’ use

of Plaintiffs Marks and/or any designation that includes Plaintiffs Marks.”


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Plaintiff further objects to this Document Request to the extent that

it seeks documents already produced to Defendants in connection with the proceeding before the

Trademark Trial and Appeal Board, Proceeding No. 92059947.

           Subject to and without waiver of the foregoing objections and General Objections,

Plaintiff has already produced non-privileged documents that are responsive this Document

Request, to the extent such documents exist.



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   50.     Produce all documents from the past 5 years, which record, refer to, or relate to any

instance or occurrence of likelihood of confusion and/or actual confusion on the part of any

person, separately in the United States, Columbia and other International territories, between

Defendants’ use of Plaintiffs Marks, and any of Plaintiffs Marks or potential marks.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Plaintiff further objects to this Document Request to the extent that

it seeks documents already produced to Defendants in connection with the proceeding before the

Trademark Trial and Appeal Board, Proceeding No. 92059947. Plaintiff further objects to this

Document Request to the extent that it is duplicative of Document Request Number 49.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced non-privileged documents related to any perceived consumer

confusion regarding Defendants’ use of the ZENÚ or RANCHERA marks, to the extent such

documents exist. Plaintiff is withholding any responsive documents that do not fall within this

specified search on the basis of the foregoing objections.



   51.     Produce all documents which record, evidence, refer to, or relate to Plaintiff’s

allegation in its Amended Complaint Paragraph 72 that Defendants attempted to procure 400,000

of Plaintiff’s labels from Plaintiff’s own ZENÚ label provide in Medellín, Colombia beyond

bates number: IAZ DNJ0002359.




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RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced non-privileged documents concerning Defendants’ attempts to

procure Plaintiff’s ZENÚ labels from its provider in Medellín, Colombia, to the extent such

documents exist.



   52.     Produce all documents from the past 5 years which record, refer to, or relate to any

inquiry, investigation, evaluation, analysis, or survey conducted by Plaintiff or any person acting

for or on behalf of Plaintiff regarding any issues involved in this proceeding.

RESPONSE: Plaintiff objects to this Document Request to the extent it vague, ambiguous and,

thus, not susceptible to a reasoned interpretation or response. Plaintiff further objects to this

Document Request to the extent that it seeks documents protected by the attorney-client privilege

and the work-product doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-

20 and will be withholding existing privileged documents on these grounds. To the extent this

Document Request seeks expert disclosures, this Document Request is also premature.

           Subject to and without waiver of the foregoing objections and General Objections,

Plaintiff states that it is not aware of any non-privileged documents related to any investigation

or analysis of Defendants’ conduct or its impact.




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   53.     Produce all documents from the past 5 years which record, refer to, or relate to any

inquiry, investigation, evaluation, analysis, or survey conducted by Plaintiff or any person acting

for or on behalf of Plaintiff with respect to Plaintiff’s fame and assertions that Plaintiff’s Marks

are among the most well-known trademarks for sausages and meat products in the United States.


RESPONSE: Plaintiff states that it has never asserted that Plaintiff’s Marks are among the most

well-known trademarks for sausages and meat products in the United States, and that there are

therefore no documents responsive to this Request.



   54.     Produce all documents from the past 5 years, which record, evidence, refer to, or

relate to Plaintiff’s allegations in its Amended Complaint that Defendant has “been selling what,

upon information and belief, are sub-par meat products bearing the RANCHERA mark, and

thereby adversely affecting the future market of Plaintiffs RANCHERA products.”

RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Plaintiff further objects to this Document Request to the extent that

it seeks documents that are already in Defendants’ possession.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced documents responsive to this Request.



   55.     Produce all press releases, articles and clippings relating to or commenting on goods

or services marketed or sold under Plaintiff’s Marks in the United States in the past 5 years.




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RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action.

           Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents responsive to this Document Request, to the extent such

documents exist.



   56.     Produce documents identifying the current address and contact information of John

Joiro, aka John Jairo.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Subject to and without waiver of the foregoing objections and the

General Objections, Plaintiff states that, at this time it is not aware of any non-privileged

documents responsive to this request.



   57.     Produce all documents, which support Plaintiffs claims “that in December 2014 Mr.

John Joiro, who identified himself as a Latinfood sales person stated that Latinfood had full

rights to distribute the ZENU product line. Plaintiff further states that several store owners that

offer Defendants’ products for sale appear to believe the[y] carry the ZENO product line from

Colombia.”


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under


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federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds. Subject to and without waiver of the foregoing objections and the

General Objections, Plaintiff states that, at this time it is not aware of any non-privileged

documents responsive to this request.



    58.      Produce all documents in the past 5 years, concerning Plaintiff as a party to any

litigation in Columbia involving Plaintiff’s Marks, including marks incorporating Plaintiff’s

Marks.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent that it seeks documents protected by the attorney-client privilege and the work-product

doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-20.

          Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents responsive to this Document Request, to the extent such

documents exist.



    59.      Produce all documents concerning any Subpoena or other legal document served on

Two Way Solutions, SAS (“TWS”) in the past 5 years by Plaintiff and each/or any of its agents;

representatives, employees, shareholders, directors, officers, members, managers, partners,

servants, parents, subsidiaries, affiliates, predecessors-in-interest, successors-in-interest,

attorneys, and any other person acting, directly or indirectly, on behalf of or in concert with the

foregoing.



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RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks information

that is not relevant to this action, immaterial, or not reasonably calculated to lead to the discovery

of admissible evidence in this action. Plaintiff further objects to this Document Request to the

extent that it seeks documents protected by the attorney-client privilege and the work-product

doctrine as recognized under federal law and pursuant to N.J.S.A. 2A:84A-20.

         Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff will produce documents responsive to this Document Request, to the extent such

documents exist.



   60.      Produce all documents produced in response to said Subpoena or other legal

document which was served on TWS by Plaintiff and each/or any of its agents; representatives,

employees, shareholders, directors, officers, members, managers, partners, servants, parents,

subsidiaries, affiliates, predecessors-in-interest, successors-in-interest, attorneys, and any other

person acting, directly or indirectly, on behalf of or in concert with the foregoing.


RESPONSE: Subject to the General Objections, Plaintiff will produce documents responsive to

this Document Request, to the extent such documents exist



   61.      Produce all documents which may demonstrate that Defendants obtained “ZENU”

labels and/or “ZENU” labeled goods from TWS or any other non-United States company.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds.


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            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced non-privileged documents responsive to this request, to the extent

such documents exist.



    62.     Produce all documents which may demonstrate that Defendants obtained

“RANCHERA” labels and/or “RANCHERA” labeled goods from TWS or any other non-United

States company.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds.

            Subject to and without waiver of the foregoing objections and the General Objections,

Plaintiff has already produced responsive to this request, to the extent such documents exist.



    63.     Produce all litigation hold notices sent to Plaintiff and CORDIALSA USA, INC. in

this lawsuit.


RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds.



    64.     Produce all documents concerning any instructions given to Plaintiff and to

CORDIALSA USA, INC. to preserve documents for this lawsuit.


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RESPONSE: Plaintiff objects to this Document Request to the extent that it seeks documents

protected by the attorney-client privilege and the work-product doctrine as recognized under

federal law and pursuant to N.J.S.A. 2A:84A-20 and will be withholding existing privileged

documents on these grounds..



   65.     Produce all documents relating to goods or services marketed or sold under Plaintiffs

Marks in the United States for the past 5 years through Danielito’s of Miami, Florida. This

request includes, without limitation, the identification of the goods or services, the number of

units and/or services sold, the dates of the sales, country in which sales made, and the dollar

value of the sale


RESPONSE: Subject to and without waiver of the foregoing objections and the General

Objections, Plaintiff states that, at this time it is not aware of any documents responsive to this

request.



   66.     Produce all documents relating to goods or services marketed or sold under Plaintiff’s

Marks in the United States for the past 5 years through the following website:

http://www.colombianimports.net/search.html?search%5Bkeywords%5D=zenu&_a=category&t

oken=0466444de188b3526bb1ca13a3c79ce4. This request includes, without limitation, the

identification of the goods or services, the number of units and/or services sold, the dates of the

sales, country in which sales made, and the dollar value of the sales.


RESPONSE: Subject to and without waiver of the foregoing objections and the General

Objections, Plaintiff states that, at this time it is not aware of any documents responsive to this

request.


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   67.     Produce all documents which record, refer to, or relate to the relationship and

communications between Plaintiff and Danielito’s for the past 5 years.


RESPONSE: Subject to and without waiver of the foregoing objections and the General

Objections, Plaintiff states that, at this time it is not aware of any documents responsive to this

request.



   68.     Produce all documents identified in response to Plaintiffs Second Set of

Interrogatories to Defendant not produced in response to the above requests.


RESPONSE: Subject to and without waiver of the General Objections, Plaintiff will produce

documents in response to this Document Request, to the extent such documents exist.




Dated: New York, New York
       October 29, 2018                            REED SMITH LLP


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      Wilson Zuluaga




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